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               UNITED STATES DISTRICT COURT
                                                                  20090.CT-6 PH 1:12
               SOUTHERN DISTRICT OF GEORGIA
                       STATE SBORO DIVISION



BOB AARON MIKELL,          )
                           )
    Plaintiff,             )
                           )
V.                         )              Case No. CV609-065
                          )
UNITED STATES OF AMERICA, )
                          )
    Defendant.            )

                               ORDER
     After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed. Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court.

     SO ORDERED this             day of                 , 2009.



                                  Z.-AVANT EDENFIIW -
                                  UNITED STATES RISTRICT JUDGE
                                  SOUTHERN DIRICT OF GEORGIA
